86 F.3d 1150
    NOTICE: Fourth Circuit Local Rule 36(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.James Calvin HORTON, Plaintiff-Appellant,v.Gary L. WOODARD;  Rick Jackson, Defendants-Appellees.
    No. 95-8599.
    United States Court of Appeals, Fourth Circuit.
    Submitted:  May 16, 1996.Decided:  June 3, 1996.
    
      James Calvin Horton, Appellant Pro Se.
      Before RUSSELL, LUTTIG, and WILLIAMS, Circuit Judges.
      PER CURIAM:
    
    
      1
      Appellant appeals from the district court's orders denying relief on his 42 U.S.C. § 1983 (1988) complaint and denying his motion for reconsideration.   We have reviewed the record and the district court's opinions and find no reversible error.   Accordingly, we affirm on the reasoning of the district court.   Horton v. Woodard, No. CA-95-759-5-H (E.D.N.C. Oct. 18, 1995;  Nov. 29, 1995).   We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the court and argument would not aid the decisional process.
    
    
      2
      AFFIRMED.
    
    